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Gmail - my crazy mother                                                                of 12 3:27 PM

    Ian watching p!!!!

    Sent from my iPhone

    On 24 Feb 2012, at 09:20, Melanie Brown <                                   > wrote:

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Gmail - FW: FYI - Mel B's Family Feud Deepens After They Accuse The 'X Factor' Star Of Bending The Truth About Her Tough Upbringing




    Mel B and her mum, Andrea, pictured in 1997


    Mel said: “I grew up in Harehills.”

    Before Kayleigh added: “The place where I come from gets quite a bad name. But Mel B was brought
    up in the same area so it makes you realise people from that place can still make it and get
    somewhere.”


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    But Mel's mum Andrea blasted her daughter's claims, revealing she actually grew up in a semi-
    detached house in a completely different part of town.

    “Melanie was brought up in Harehills? Well, that’s news to us. It’s always been Kirkstall, the other
    side of town," she told The Mirror.
    Mel's sister Danielle, added: “That’s what happens when you forget your roots. I might start saying I
    grew up in Buckingham Palace.”




    Mel B and her sister Danielle in happier times


    The former Scary Spice became estranged from her mother Andrea, father Martin and sister
    Danielle in 2008 after she renewed her wedding vows with husband Stephen Belafonte, who they
    blamed for taking Mel away from her family.

    Mel has previously admitted to living in a different part of Leeds during the filming of the 2009
    documentary, 'Seven Days On The Breadline', which saw her living with a family in Harehills.

    She said: “I knew a little about what to expect in Harehills because it’s always had a tough
    reputation.

    “Despite the fact I was born in Leeds and grew up on another council estate in the city, I was
    shocked at the level of deprivation and the absence of hope I found when I went back to Harehills for
    the first time in about 20 years.”

    Last week, Mel showed off her incredible bikini body on a romantic break with husband Stephen in
    Mexico...


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